JS 44 (Rev. 10/20)                  Case 2:21-cv-04041-CDJ
                                                      CIVILDocument
                                                            COVER 1SHEET
                                                                     Filed 09/10/21 Page 1 of 18
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
          ALFORD BUNTING                                                                                       CHELTEN MARKET, INC.
    (b)   County of Residence of First Listed Plaintiff                PHILADELPHIA                            County of Residence of First Listed Defendant                                 PHILADELPHIA
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)

          Sidney L. Gold, Esquire - Sidney L. Gold & Assoc., P.C.
          1835 Market St., Ste. 515, Phila, PA 19103 215-569-1999
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                           and One Box for Defendant)
    1   U.S. Government                  ✖   3   Federal Question                                                                    PTF          DEF                                              PTF      DEF
          Plaintiff                                (U.S. Government Not a Party)                      Citizen of This State          ✖ 1            1           Incorporated or Principal Place         4     4
                                                                                                                                                                  of Business In This State

    2   U.S. Government                      4   Diversity                                            Citizen of Another State            2              2      Incorporated and Principal Place                 5        5
          Defendant                                (Indicate Citizenship of Parties in Item III)                                                                  of Business In Another State

                                                                                                      Citizen or Subject of a             3              3      Foreign Nation                                   6        6
                                                                                                        Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                         Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                    TORTS                            FORFEITURE/PENALTY                          BANKRUPTCY                                    OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158                             375 False Claims Act
    120 Marine                           310 Airplane                      365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                                    376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product                  Product Liability         690 Other                                28 USC 157                                        3729(a))
    140 Negotiable Instrument                 Liability                    367 Health Care/                                                                                                     400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &                  Pharmaceutical                                                 PROPERTY RIGHTS                                   410 Antitrust
        & Enforcement of Judgment             Slander                          Personal Injury                                                 820 Copyrights                                   430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’                Product Liability                                               830 Patent                                       450 Commerce
    152 Recovery of Defaulted                 Liability                    368 Asbestos Personal                                               835 Patent - Abbreviated                         460 Deportation
         Student Loans                   340 Marine                            Injury Product                                                      New Drug Application                         470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                    Liability                                                       840 Trademark                                        Corrupt Organizations
    153 Recovery of Overpayment               Liability                   PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets                         480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle                 370 Other Fraud               710 Fair Labor Standards                  Act of 2016                                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits              355 Motor Vehicle                 371 Truth in Lending              Act                                                                                485 Telephone Consumer
    190 Other Contract                       Product Liability             380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                                       Protection Act
    195 Contract Product Liability       360 Other Personal                    Property Damage               Relations                        861 HIA (1395ff)                                  490 Cable/Sat TV
    196 Franchise                            Injury                        385 Property Damage           740 Railway Labor Act                862 Black Lung (923)                              850 Securities/Commodities/
                                         362 Personal Injury -                 Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                                Exchange
                                             Medical Malpractice                                             Leave Act                        864 SSID Title XVI                                890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                   PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                                  891 Agricultural Acts
    210 Land Condemnation                440 Other Civil Rights            Habeas Corpus:                791 Employee Retirement                                                                893 Environmental Matters
    220 Foreclosure                      441 Voting                        463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                                 895 Freedom of Information
    230 Rent Lease & Ejectment       ✖   442 Employment                    510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff                             Act
    240 Torts to Land                    443 Housing/                          Sentence                                                            or Defendant)                                896 Arbitration
    245 Tort Product Liability               Accommodations                530 General                                                        871 IRS—Third Party                               899 Administrative Procedure
    290 All Other Real Property          445 Amer. w/Disabilities -        535 Death Penalty                 IMMIGRATION                           26 USC 7609                                      Act/Review or Appeal of
                                             Employment                    Other:                        462 Naturalization Application                                                             Agency Decision
                                         446 Amer. w/Disabilities -        540 Mandamus & Other          465 Other Immigration                                                                  950 Constitutionality of
                                             Other                         550 Civil Rights                  Actions                                                                                State Statutes
                                         448 Education                     555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                         3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                                 8 Multidistrict
      Proceeding             State Court                                Appellate Court               Reopened                    Another District          Litigation -                                  Litigation -
                                                                                                                                  (specify)                 Transfer                                      Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             TITLE VII, PHRA, 1981, FLSA
VI. CAUSE OF ACTION                          Brief description of cause:

VII. REQUESTED IN                                 CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                         CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                               150,000 IN EXCESS                                JURY DEMAND:                            ✖   Yes       No
VIII. RELATED CASE(S)
                                                 (See instructions):
      IF ANY                                                             JUDGE                                                                DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
                                                                                                                                               Digitally signed by Sidney L. Gold, Esquire
09/10/2021                                                                  Sidney L. Gold, Esquire                                            Date: 2021.09.10 10:46:44 -04'00'


FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                        APPLYING IFP                                    JUDGE                                         MAG. JUDGE
JS 44 Reverse (Rev. 10/20)   Case 2:21-cv-04041-CDJ Document 1 Filed 09/10/21 Page 2 of 18
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                             Case 2:21-cv-04041-CDJ
                                                UNITEDDocument   1 Filed
                                                      STATES DISTRICT    09/10/21 Page 3 of 18
                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                             5722 Greene Street, Philadelphia, PA 19144
Address of Plaintiff: ______________________________________________________________________________________________
                                        176 West Chelten Avenue, Philadelphia, PA 19144
Address of Defendant: ____________________________________________________________________________________________
                                                      176 West Chelten Avenue, Philadelphia, PA 19144
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      09/10/2021
DATE: __________________________________
                                                                          /s/ Sidney L. Gold, Esq.
                                                             __________________________________________                                     21374
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
✔      7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

     SIDNEY L. GOLD, ESQUIRE counsel of record or pro se plaintiff, do hereby certify:
I, ____________________________________________,

      ✔       Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

     ✔        Relief other than monetary damages is sought.


      09/10/2021
DATE: __________________________________
                                                                                /s/ Sidney L. Gold, Esq.
                                                             __________________________________________                                     21374
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                    CASE MANAGEMENT TRACK DESIGNATION FORM
    ALFORD BUNTING                                :                          CIVIL ACTION
                                                  :
                v.                                :
    CHELTEN MARKET, INC.                          :
                                                  :                          NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                               ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.                   ( )
                                                                                                      ✔




09/10/2021                         /s/ Sidney L. Gold, Esq.        PLAINTIFF
Date                                Attorney-at-law                    Attorney for
(215) 569-1999                  (215) 569-3870                        sgold@discrimlaw.net

Telephone                           FAX Number                           E-Mail Address


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                              Civil Justice Expense and Delay Reduction Plan
                             Section 1:03 - Assignment to a Management Track

    (a)          The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

    (b)           In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.
    (c)         The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

     (d)         Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.
     (e)        Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

                            SPECIAL MANAGEMENT CASE ASSIGNMENTS
                             (See §1.02 (e) Management Track Definitions of the
                              Civil Justice Expense and Delay Reduction Plan)

     Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________
ALFORD BUNTING                     :
                  Plaintiff,       :  CIVIL ACTION NO.______
                                   :
      v.                           :
                                   :
CHELTEN MARKET, INC.               :
                  Defendant.       :
__________________________________ :  JURY TRIAL DEMANDED

                                      COMPLAINT

I.    PRELIMINARY STATEMENT

      1.       This is an action for an award of damages, attorneys’ fees and other relief

granted on behalf of Plaintiff Alford Bunting (“Plaintiff Bunting”), a former employee of

Defendant, Chelten Market, Inc (“Defendant”), who has been harmed by the Defendant’s

unlawful, discriminatory, and retaliatory employment practices.

      2.       This action arises under Title VII of the Civil Rights Act of 1964 and 1991,

as amended, 42 U.S.C. § 2000e et seq. (“Title VII”), the Pennsylvania Human Relations

Act, 43 P.S. § 951 et seq. (“PHRA”), 42 U.S.C. §1981 ("§1981"), and the Fair Labor

Standards Act, 29 U.S.C. § 201, et seq., (“FLSA”).

II.   JURISDICTION AND VENUE

      3.       The original jurisdiction of this Court is invoked pursuant to 28 U.S.C. §

1331 and the claims are substantively based on Title VII, §1981, and the FLSA. The

supplemental jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1367, to

consider Plaintiff Bunting’s claims arising under the PHRA.


                                              1
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         4.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2),

in that a substantial part of the events or omissions giving rise to the claim occurred in

this district.

         5.       All conditions precedent to the institution of this suit have been fulfilled.

On June 23, 2021, a Notice of Right to Sue was issued by the United States Equal

Employment Commission (“EEOC”), and this action has been filed within ninety (90)

days of receipt of said notice.

         6.       Plaintiff Bunting has satisfied all other jurisdictional prerequisites to the

maintenance of this action.

III.     PARTIES

         7.       Plaintiff Alford Bunting is a forty-one (41) year old Caucasian male citizen

of the Commonwealth of Pennsylvania, residing therein at 5722 Greene Street,

Philadelphia, PA 19144.

         8.       Defendant Chelten Market, Inc. (“Defendant”) is a corporation duly

organized and existing under the laws of the Commonwealth of Pennsylvania,

maintaining a place of business located at 176 West Chelten Avenue, Philadelphia, PA

19144.

         9.       At all times relevant hereto, Defendant acted through its agents, servants,

and employees who were acting within the scope of their authority, course of

employment, and under the direct control of the Defendant.




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       10.    At all times material herein, the Defendant has been a “person” and

“employer” as defined under Title VII, the PHRA, and FLSA and has been, and is,

subject to the provisions of each said Act.

IV.    STATEMENT OF FACTS

       11.    Plaintiff Bunting, a forty-one (41) old Caucasian individual, was employed

by the Defendant from on or about November 2016 until on or about February 6, 2019,

the date of his unlawful termination.

       12.    During the course of his employment with the Defendant, Plaintiff Bunting

held the following positions due to operational needs: Deli Clerk, Meat Wrapper, Dairy

Department Clerk and Grocery Department Clerk. At all times relevant hereto, Plaintiff

Bunting maintained an excellent job performance rating in said capacities.

       13.    By way of background, shortly after the start of Plaintiff Bunting’s

employment with the Defendant, Plaintiff Bunting received an increase in his hourly rate

to from $8.50 to $9.00 as a result of his stellar work performance.

       14.    On or about May 2017, the Defendant changed Plaintiff Bunting’s

compensation structure from hourly to salaried, totaling $500 per week.

       15.    On or about October 2017, the Defendant started to cut Plaintiff Bunting’s

hours down from fifty (50) hours per week to between forty-two (42) and forty-eight

(48). Notably, despite being salaried, Plaintiff Bunting was only paid $10.00 per hour for

hours worked without possibility of overtime pay, amounting to less compensation had

Plaintiff Bunting been paid the intended salaried amount or allowed overtime pay.



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       16.    Upon information and belief, the Defendant did not alter the compensation

structure or hours of a similarly-situated African American employee, Gregory Travis,

(“Travis”), Meat Cutter.

       17.    On or about January 17, 2019, Joe Durkin, (“Durkin”), Meat Room

Manager, alerted Plaintiff Bunting that he did not properly put away certain products the

previous day. Durkin stated that he received this information from Travis, who also

worked the previous day’s shift in the meat room.

       18.    Plaintiff Bunting believes and avers that this was a false accusation by

Travis. After speaking to Durkin, Plaintiff Bunting approached Travis to ask why he

made the false accusation to Durkin. This led to Travis immediately getting angry,

yelling at Plaintiff Bunting and proceeding to assault Plaintiff Bunting by head butting

him in the forehead. Plaintiff Bunting immediately left the premises to avoid further

physical and verbal violence and went to the hospital, where he received three stitches as

a result of Travis’s assault.

       19.    Notably, while Plaintiff Bunting was in the hospital, Jay Kim, (“Jay Kim”),

Store Manager, called to inquire about Plaintiff Bunting’s health as a result of Travis’s

assault and to let Plaintiff Bunting know that Travis was fired. Jay Kim ended the

conversation by stating that he will see Plaintiff Bunting at work the next day.

       20.    The very next day, on or about January 18, 2019, upon arrival to work,

Plaintiff Bunting was told by a manager present that he cannot return to work until he

spoke to Young Kim, (“Mr. Kim”), Owner, regarding the altercation with Travis.

Accordingly, Plaintiff Bunting went to Mr. Kim, who only discussed the events of the

                                             4
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day prior to the altercation, and told Plaintiff Bunting that although he is not suspended,

that Plaintiff Bunting cannot return to work until he and the managers make a decision

regarding the status of his employment.

       21.    Notably, while Plaintiff Bunting was barred from returning to work after

being assaulted in the workplace, the assaulting party, Travis, an African American male,

was reinstated to employment by the Defendant.

       22.    For the next twenty (20) days, Plaintiff Bunting attempted to contact Jay

Kim, Mr. Kim and Kinslow as to the status of his employment. On each such attempt, the

Plaintiff was told by Jay Kim and Kinslow that Mr. Kim has not yet made the decision.

Following multiple attempts, Plaintiff Bunting was not able to reach or hear back from

Mr. Kim.

       23.    On or about January 30, 2019, Plaintiff Bunting lodged a complaint of

racial discrimination and unlawful overtime practices with Jay Kim via a text message.

On or about January 31, 2019, Plaintiff Bunting lodged the same complaint with

Kinslow. In both instances, he did not receive a response from either party.

       24.    On or about February 6, 2019, twenty (20) days after the Defendant barred

Plaintiff Bunting from working and receiving his salary despite his status as a salaried

employee, Plaintiff Bunting visited the Defendant’s place of business while running

errands. Upon seeing Mr. Kim at the front of the store, Plaintiff Bunting approached him

to ask about his employment status. In response, Mr. Kim told Plaintiff Bunting that he is

no longer allowed in the Defendant’s place of business and that he is terminated. Mr.

Kim did not provide a reason as to Plaintiff Bunting’s termination and when asked about

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Plaintiff Bunting’s injury that he received as a result of Travis’s assault in the workplace,

Mr. Kim replied that “it is not [his] concern.”

       25.    Upon information and belief, at the time of Plaintiff Bunting’s termination,

the Defendant still employed Travis, African American, despite his participation and

initiation of the incident that led to Plaintiff Bunting’s injury and unlawful termination.

       26.    Upon information and belief, following Plaintiff Bunting’s unlawful

termination, the Defendant hired African American individuals to replace the Plaintiff

Bunting and to fill other open positions.

       27.    By way of further discrimination, throughout Plaintiff Bunting’s

employment with the Defendant, the Defendant treated Asian-American employees

differently than their similarly-situated Caucasian counterparts.

       28.    By way of example, the Defendant repeatedly reprimanded Caucasian

employees, including Plaintiff Bunting, for taking breaks at the same time, but did not

reprimand similarly-situated Asian-American employees who frequently took their

breaks at the same time to smoke outside.

       29.    Plaintiff Bunting believes and avers that the differing treatment was a result

of Defendant’s discrimination against the Plaintiff Bunting based on Plaintiff Bunting’s

race (Caucasian).

       30.    Plaintiff Bunting further believes and avers that he was terminated based on

his race (Caucasian) and in retaliation for opposing unlawful racial discrimination in the

workplace.



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                                         COUNT I
                            (Title VII – Race Discrimination)
                            Plaintiff Bunting v. the Defendant

       31.    Plaintiff Bunting incorporates by reference paragraphs 1 through 30 of this

Complaint as though fully set forth at length herein.

       32.    The actions of the Defendant, through its agents, servants, and employees,

in subjecting Plaintiff Bunting to discrimination on the basis of his race, constitutes a

violation of Title VII.

       33.    As a direct result of the aforesaid unlawful discriminatory employment

practices engaged in by the Defendant in violation of Title VII, as aforesaid, Plaintiff

Bunting sustained permanent and irreparable harm, which caused him to sustain a loss of

earnings, plus the value of certain benefits, plus loss of future earning power, plus back

pay, and front pay, and interest due thereon.

       34.    As a further direct result of the aforesaid discriminatory employment

practices engaged in by the Defendant in violation of Title VII, Plaintiff Bunting suffered

severe emotional distress, embarrassment, humiliation, and loss of self-esteem.

                                        COUNT II
                             (PHRA – Race Discrimination)
                            Plaintiff Bunting v. the Defendant

       35.    Plaintiff Bunting incorporates by references paragraphs 1 through 34 of this

Complaint as though fully set forth at length herein.

       36.    The actions of the Defendant, through its agents, servants, and employees,

in subjecting Plaintiff Bunting to discrimination on the basis of his race, constituted a

violation of the PHRA.

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       37.    As a direct result of the aforesaid unlawful discriminatory employment

practices engaged in by the Defendant in violation of the PHRA, as aforesaid, Plaintiff

Bunting sustained permanent and irreparable harm, which caused him to sustain a loss of

earnings, plus the value of certain benefits, plus loss of future earning power, plus back

pay, and front pay, and interest due thereon.

       38.    As a further direct result of the aforesaid discriminatory employment

practices engaged in by the Defendant in violation of the PHRA, Plaintiff Bunting

suffered severe emotional distress, embarrassment, humiliation, and loss of self-esteem.

                                        COUNT III
                        (42 U.S.C. § 1981 – Race Discrimination)
                            Plaintiff Bunting v. the Defendant

       39.    Plaintiff Bunting incorporates by references paragraphs 1 through 38 of this

Complaint as though fully set forth at length herein.

       40.    The actions of the Defendant, through its agents, servants, and employees,

in subjecting Plaintiff Bunting to discrimination on the basis of his race, constituted a

violation of 42 U.S.C. § 1981.

       41.    As a direct result of the aforesaid unlawful discriminatory employment

practices engaged in by the Defendant in violation of 42 U.S.C. § 1981, as aforesaid,

Plaintiff Bunting sustained permanent and irreparable harm, which caused him to sustain

a loss of earnings, plus the value of certain benefits, plus loss of future earning power,

plus back pay, and front pay, and interest due thereon.




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       42.    As a further direct result of the aforesaid discriminatory employment

practices engaged in by the Defendant in violation of 42 U.S.C. § 1981, Plaintiff Bunting

suffered severe emotional distress, embarrassment, humiliation, and loss of self-esteem.

                                       COUNT IV
                              (Fair Labor Standards Act)
                           Plaintiff Bunting v. the Defendant

       43.    Plaintiff Bunting hereby incorporates by reference paragraphs 1 through 42

of this Complaint as though fully set forth at length herein.

       44.    Despite Plaintiff Bunting’s demand that the Defendant pay to Plaintiff

Bunting the aforementioned wages due and owed to him, the Defendant has refused, and

continues to refuse, to make said payments to Plaintiff Bunting.

       45.    The actions of the Defendant, in refusing to pay Plaintiff Bunting said

agreed upon wages, were willful, malicious, wanton, and in bad faith and in reckless

disregard of Plaintiff Bunting’s rights and interests pursuant to the FLSA.

       46.    In accordance with the FLSA, in addition to overtime wages owed, Plaintiff

Bunting is entitled to liquidated damages in an amount equal to the amount of said

overtime wages owed, which he hereby claims of the Defendant.

       47.    In further accordance with the FLSA, Plaintiff Bunting is entitled to

reasonable attorneys’ fees in addition to costs associated with this action, which he

hereby claims of the Defendant.




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                                       COUNT V
                                (Title VII – Retaliation)
                           Plaintiff Bunting v. the Defendant

       48.    Plaintiff Bunting incorporates by references paragraphs 1 through 47 of this

Complaint as though fully set forth at length herein.

       49.    The actions of the Defendant, through its agents, servants, and employees,

in retaliating against Plaintiff Bunting for opposing unlawful race discrimination in the

workplace, constituted a violation of Title VII.

       50.    As a direct result of the aforesaid unlawful retaliatory employment

practices engaged in by the Defendant in violation of Title VII, as aforesaid, Plaintiff

Bunting sustained permanent and irreparable harm, which caused him to sustain a loss of

earnings, plus the value of certain benefits, plus loss of future earning power, plus back

pay, and front pay, and interest due thereon.

       51.    As a further direct result of the aforesaid retaliatory employment practices

engaged in by the Defendant in violation of Title VII, Plaintiff Bunting suffered severe

emotional distress, embarrassment, humiliation, and loss of self-esteem.

                                       COUNT VI
                                 (PHRA – Retaliation)
                           Plaintiff Bunting v. the Defendant

       52.    Plaintiff Bunting incorporates by references paragraphs 1 through 51 of this

Complaint as though fully set forth at length herein.

       53.    The actions of the Defendant, through its agents, servants, and employees,

in retaliating against Plaintiff Bunting for opposing unlawful race discrimination in the

workplace, constituted a violation of the PHRA.

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       54.    As a direct result of the aforesaid unlawful retaliatory employment

practices engaged in by the Defendant in violation of the PHRA, as aforesaid, Plaintiff

Bunting sustained permanent and irreparable harm, which caused him to sustain a loss of

earnings, plus the value of certain benefits, plus loss of future earning power, plus back

pay, and front pay, and interest due thereon.

       55.    As a further direct result of the aforesaid retaliatory employment practices

engaged in by the Defendant in violation of the PHRA, Plaintiff Bunting suffered severe

emotional distress, embarrassment, humiliation, and loss of self-esteem.

                                       COUNT VII
                             (42 U.S.C. § 1981 – Retaliation)
                            Plaintiff Bunting v. the Defendant

       56.    Plaintiff Bunting incorporates by references paragraphs 1 through 55 of this

Complaint as though fully set forth at length herein.

       57.    The actions of the Defendant, through its agents, servants, and employees,

in retaliating against Plaintiff Bunting for opposing unlawful race discrimination in the

workplace, constituted a violation of 42 U.S.C. § 1981.

       58.    As a direct result of the aforesaid unlawful retaliatory employment

practices engaged in by the Defendant in violation of 42 U.S.C. § 1981, as aforesaid,

Plaintiff Bunting sustained permanent and irreparable harm, which caused him to sustain

a loss of earnings, plus the value of certain benefits, plus loss of future earning power,

plus back pay, and front pay, and interest due thereon.




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59.   As a further direct result of the aforesaid retaliatory employment practices

engaged in by the Defendant in violation of 42 U.S.C. § 1981, Plaintiff Bunting suffered

severe emotional distress, embarrassment, humiliation, and loss of self-esteem.

      WHEREFORE, Plaintiff Bunting requests that this Court enter judgment in his

favor against the Defendant and Order that:

      a.       Defendant compensate Plaintiff Bunting for the wages and other benefits

and emoluments of employment lost, because of its unlawful conduct;

      b.       Defendant compensate Plaintiff Bunting with an award of front pay, if

appropriate;

      c.       Defendant pay to Plaintiff Bunting punitive damages, compensatory

damages for future pecuniary losses, pain, suffering, inconvenience, mental anguish, loss

of enjoyment of life, and other nonpecuniary losses as allowable;

      d.       Defendant pay to Plaintiff Bunting pre and post judgment interest, costs of

suit, and attorney and expert witness fees as allowed by law;

      e.       The Court award such other relief as is deemed just and proper.

                                     JURY DEMAND

      Plaintiff Bunting demands a trial by jury.

                                          SIDNEY L. GOLD & ASSOC., P.C.
                                   By:     /s/ Sidney L. Gold, Esquire
                                          SIDNEY L. GOLD, ESQUIRE
                                          I.D. NO.: 21374
                                          1835 Market Street, Ste. 515
                                          Philadelphia, PA 19103
                                          Attorney for Plaintiff
DATED: September 10, 2021

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